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  8                     UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
 10
 11    TERRENCE KING,                          Case No. 5:21-cv-00088-JAK-PD
 12                     Petitioner,
                                               JUDGMENT
 13         v.
 14    ROBERT BURTON, Warden,
 15                     Respondent.
 16
 17         Pursuant to the Court’s Order Accepting the Report and
      Recommendation of United States Magistrate Judge,
 18
            IT IS ADJUDGED that the Petition is dismissed with prejudice.
 19
 20
             November 18, 2021
 21   DATED: ________________.
 22
                                         ______________________________________
 23
                                         JOHN A. KRONSTADT
 24                                      UNITED STATES DISTRICT JUDGE
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